       Case 3:18-cv-00574-M Document 7 Filed 04/03/18             Page 1 of 3 PageID 24


                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

CASTRO & CO., LLC,        §
    Plaintiff,            §
                          §
v.                        §                         Civil Action No. 3:18-cv-00574-M
                          §
DIAMOND OFFSHORE SERVICES §
LIMITED, JANE MUNOZ AND   §
EMILY ROSENBURG,          §
    Defendants.           §

                 Defendant Diamond Offshore Services Limited’s
    Motion for Leave to Proceed Without Local Counsel (per Local Rule 83.10(a))

      1. Pursuant to Local Rule 83.10(a), Defendant, Diamond Offshore Services

Limited (Diamond), 1 respectfully requests leave to proceed without local counsel.

      2. Diamond’s Houston-based counsel, Paul J. Dobrowski and Anthony D. Weiner,

of Dobrowski, Larkin & Johnson LLP, are attorneys in good standing that have been

admitted to practice in the Northern District of Texas.

      3. Diamond’s counsel are prepared to travel and appear as directed by the Court.

Diamond’s counsel further recognizes and accepts the obligation to fulfill all local-

counsel requirements and abide by all local-counsel rules of this Court, including the

standards of litigation conduct set forth in Dondi Properties Corporation v. Commerce Savings

& Loan Association, 121 F.R.D. 284 (N.D. Tex. 1988)(per curiam).



1
 Defendants Munoz and Rosenburg have been dismissed pursuant to Plaintiff’s March 16, 2018,
Notice of Voluntary Dismissal. See Dkt. 4 (dismissal prior to appearance; effective upon filing).
     Case 3:18-cv-00574-M Document 7 Filed 04/03/18                  Page 2 of 3 PageID 25


    4. Diamond intends to move for dismissal of this action pursuant to grounds

provided for in Federal Rule of Civil Procedure 12(b), and anticipates that the Court’s

pre-answer rulings may resolve this matter in its entirety.2

    5. Should the Court grant this motion, and at a later date determine that proceeding

without local counsel in any way disrupts this litigation or results in a failure to comply

with this Court’s rules, Diamond will immediately take steps to obtain local counsel.

                                       Respectfully submitted,

                                       DOBROWSKI, LARKIN & JOHNSON L.L.P.

                                       By: Anthony D. Weiner______
                                       Paul J. Dobrowski
                                       State Bar No. 05927100
                                       Federal No. 3208
                                       pjd@doblaw.com
                                       Anthony D. Weiner
                                       State Bar No. 24043984
                                       Federal No. 38618
                                       adw@doblaw.com
                                       4601 Washington Avenue, Suite 300
                                       Houston, Texas 77007
                                       (713)659-2900 (phone)
                                       (713)659-2908 (fax)
                                       Attorneys for Diamond Offshore                      Services
                                       Limited




2
 This motion is not a responsive pleading, an answer on the merits, or an affirmative action affecting
any pre-answer defenses or motions, including but not limited to objections and filings permitted
pursuant to Federal Rule of Civil Procedure 12(b).
                                                  2
    Case 3:18-cv-00574-M Document 7 Filed 04/03/18          Page 3 of 3 PageID 26


                              Certificate of Conference

       Pursuant to Local Rule 7.1(a), counsel for Diamond conferred with counsel for
Plaintiff, Joshua Scott Milam, on April 3, 2018. Plaintiff is opposed.

                                         Anthony D. Weiner________
                                         Anthony D. Weiner




                                Certificate of Service

        All parties received notice of this filing by operation of the Court’s electronic
filing system. Parties may access this filing through the Court’s CM/ECF system.

                                         Anthony D. Weiner______
                                         Anthony D. Weiner




                                           3
